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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

DEBRA HUNT,                                              )
                                                         )
                                 Plaintiff,              )
                                                         )        Court No. 1:19-cv-550
         vs.                                             )
                                                         )
ARAMARK FACILITY SERVICES, INC.,                         )
                                                         )
                                 Defendant.              )

NOTICE OF REMOVAL OF ARAMARK HEALTHCARE SUPPORT SERVICES, LLC
     (INCORRECTLY SUED AS "ARAMARK FACILITY SERVICES, INC.")

         Defendant, Aramark Healthcare Support Services, LLC (incorrectly sued as “Aramark

Facility Services, Inc.”), pursuant to 28 U.S.C. § 1446 and the Local Rules of the United States

District Court for the Northern District of Illinois, notifies this Honorable Court that the above-

entitled cause has been removed from the Circuit Court of Cook County, County Department, Law

Division, to the United States District Court for the Northern District of Illinois, Eastern Division,

and in support thereof, states as follows:

                                       STATEMENT OF THE CASE

         1.       On December 19, 2018, Plaintiff, Debra Hunt, filed a complaint in the Circuit Court

of Cook County, Illinois, Law Division, alleging personal injuries arising out of a slip and fall

accident. (See Plaintiff’s Complaint attached as Exhibit A.)

         2.       The Defendant was served via its registered agent on January 3, 2019.

                          DIVERSITY JURISDICTION UNDER 28 U.S.C. § 1332(a)

         3.       This action is one over which the Court has original jurisdiction under the provisions

of 28 U.S.C. § 1332, and may be removed to this Court pursuant to the provisions of 28 U.S.C. §




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1441 because it is a civil action wherein the matter in controversy exceeds the sum or value of

$75,000 exclusive of interests and costs, and is between citizens of different states.

         4.       Complete diversity exists between the parties because:

                  (A)         Upon information and belief, Plaintiff Debra Hunt is a natural person

                              domiciled in the State of Illinois;

                  (B)         Defendant Aramark Healthcare Support Services, LLC is a limited liability

                              company organized under the laws of the State of Delaware with its principal

                              place of business in the Commonwealth of Pennsylvania;

                              (i)    Aramark Healthcare Support Services, LLC is 100% owned by

                                     Aramark Services, Inc., a corporation organized under the laws of the

                                     State of Delaware with its principal place of business in the

                                     Commonwealth of Pennsylvania. Aramark Services, Inc. is 100%

                                     owned by Aramark Intermediate HoldCo Corporation, a corporation

                                     organized under the laws of the State of Delaware with its principal

                                     place of business in the Commonwealth of Pennsylvania. Aramark

                                     Intermediate HoldCo Corporation is 100% owned by Aramark, a

                                     corporation organized under the laws of the State of Delaware with

                                     its principal place of business in the Commonwealth of Pennsylvania.

                                     There are no other members of Aramark Healthcare Support Services,

                                     LLC.

         5.       Upon information and belief, Plaintiff is seeking damages in excess of $75,000,

exclusive of interest and costs, based upon the allegations in her complaint which seek damages in




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excess of $50,000 for severe and permanent injuries of a personal and pecuniary nature including

lost wages, disability, past and future medical expenses. See Ex. A at ¶ 7.

         6.       Consequently, proper diversity of citizenship exists between the parties as required

under 28 U.S.C. § 1332, and the amount in controversy in this case exceeds the jurisdictional limit of

$75,000.00, exclusive of interest and costs.

         7.       The requisite elements of jurisdiction have been satisfied and diversity of the parties

exists which entitles the Defendant to remove this action to the United States District Court for the

Northern District of Illinois, Eastern Division, pursuant to 28 U.S.C. §§ 1332 and 1446.

         WHEREFORE, the Defendant, Aramark Healthcare Support Services, LLC (incorrectly sued

as “Aramark Facility Services, Inc.”), notifies this Court that this cause has been removed from the

Circuit Court of Cook County, Illinois, County Department, Law Division, to the United States

District Court for the Northern District of Illinois, Eastern Division, pursuant to the provisions of 28

U.S.C. § 1446 and the Local Rules of the United States District Court of the Northern District of

Illinois.

                                                 Respectfully submitted,


                                                 By: /s/ Craig M. Derrig
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                                                     Keith K. Ybanez, ARDC #6318216
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                                                                        , LLC




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                                 CERTIFICATE OF SERVICE

I hereby certify that on the 28th day of January 2019, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system, which will then send a notification of such filing to the
following:


and I hereby certify that I will e-mail and mail the document by U.S. Mail to the following non-filing
user:

David S. Petrich
Sandman, Levy and Petrich, LLC
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Suite 900
Chicago, IL 60602
312-726-1692
info@slplaw.com
Attorne y for Plaintiff, De b ra Hunt

                                               By: /s/ Craig M. Derrig




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